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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------- x
                                                    :
 UNITED STATES OF AMERICA,                          :
                                                    :   20 Cr. 330 (AJN)
              v.                                    :
                                                    :
 GHISLAINE MAXWELL,
                                                    :
                                                    :
             Defendant.                             :
                                                    :
--------------------------------------------------- x


              GHISLAINE MAXWELL’S MOTION FOR A NEW TRIAL



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         Ghislaine Maxwell moves under Federal Rule of Criminal Procedure 33 for a new

trial.

                                        Introduction
         Juror No. 50 says he was a victim of sexual assault and sexual abuse as a child.

When he told his fellow jurors of this abuse during deliberations, “[t]he room went dead

silent.” Juror No. 50 has told several media outlets that he drew on his personal

experience as a victim to persuade fellow jurors to believe Ms. Maxwell’s accusers,

despite the inconsistencies and holes in their stories, even though they delayed disclosing

their allegations against Ms. Maxwell, and in spite of expert testimony from Dr. Elizabeth

Loftus casting significant doubt on the reliability of their claimed memories.

         This was unfair and prejudicial to Ms. Maxwell, and it all would have been

avoided if Juror No. 50 had told the truth during voir dire. But he didn’t. To the contrary,

Juror No. 50 repeatedly and unequivocally denied having been the victim of sexual

abuse, and he denied having any experience that would affect his ability to serve fairly

and impartially as a juror. Had Juror No. 50 told the truth, he would have been

challenged, and excluded, for cause.

         The Sixth Amendment to the United States Constitution guarantees trial by jury.

Fundamental to that guarantee is the promise that the jury will be comprised of twelve

dispassionate individuals who will fairly and impartially decide, based on the evidence or

lack of evidence and not on their personal predilections and biases, whether the

government has proved its case beyond a reasonable doubt. Voir dire plays an essential




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role in this process, and it depends on potential jurors to truthfully answer material

questions put to them by the Court and the parties.

       That did not happen here. Juror No. 50 did not truthfully respond to perhaps the

most important question put to potential jurors about their personal experiences – a

question that pertained directly to the core allegations against Ms. Maxwell: Whether

they had been a victim of sexual assault or abuse. Juror No. 50’s false answer

undermined voir dire, resulted in a jury that was not fair and impartial, and deprived Ms.

Maxwell of her constitutional right to trial by jury.

       This Court should vacate the judgment and order a new trial.

                                  Factual Background
   I. Jury Selection

         A. The jury questionnaire

       This Court summoned about seven hundred potential jurors, providing each of

them with a 22-page questionnaire containing 50 questions. Groups of 100 or more jurors

were gathered in the courthouse in morning and afternoon sessions over the course of

three days. They were given as much time as needed to complete the questionnaires.

Potential jurors signed the questionnaires and swore to the accuracy of their responses

under penalty of perjury.

       The questionnaire’s purpose was to provide the parties with information about

potential jurors and to discern whether any potential juror could not be fair and impartial.

The Court assured the parties that any affirmative answers to questions would be the

subject of follow up questioning during the oral voir dire.


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       The questionnaire began with a summary of the indictment and the allegations

against Ms. Maxwell, including allegations of sexual trafficking, enticement, and

transportation.

       Given the accusations and the sensitivity of sexual assault, sexual abuse, or sexual

harassment, and the powerful effects such assault, abuse, and harassment can have, the

questionnaire included several questions designed to elicit whether a potential juror had

ever been abused, assaulted, or harassed, and how that might affect their ability to be an

unbiased fact finder.

       For example, Question No. 13 asked potential jurors if they could decide the case

purely the evidence or lack of evidence and not based on any biases, sympathies, or

prejudices.

       Question 25 asked potential jurors if they were ever a victim of a crime and, if so,

whether that experience would prevent them from being fair and impartial.

       Questions 42-50 asked jurors about their feelings and experiences with the types

of alleged conduct at issue in the case, including sexual assault, sexual abuse, and sexual

harassment.

       Question 42 asked whether the nature of the allegations against Ms. Maxwell

“might make it difficult” for potential jurors to be fair and impartial. Question 43 asked

potential jurors if they had views about the laws concerning the age of consent and if

those views would affect their ability to be fair and impartial. Question 44 asked potential

jurors if they had views about the laws governing sex trafficking and sex crimes against

minors and if those views would affect their ability to be fair and impartial. Question 47


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asked potential jurors if they would have any difficulty assessing the credibility of

alleged victims of sexual assault or abuse just as they would assess the credibility of any

other witness.

       Prior to finalizing the questionnaire, Ms. Maxwell proposed specific questions to

identify potential jurors who had been victims of sexual assault, sexual abuse, or sexual

harassment. The defense proposed to ask potential jurors: (1) “Whether reported or not,

have you, any family member or anyone close to you, including a child/minor, ever been

the victim of any form of sexual abuse? (This includes actual or attempted sexual assault

or other unwanted sexual advance, including by a stranger, acquaintance, supervisor,

teacher, or family member;” and (2) “Whether reported or not, have you, or anyone close

to you, including a child/minor, ever felt in danger of being sexually assaulted by another

person, including a stranger, acquaintance, supervisor, teacher, or family member?” Doc.

367, p 21. The government objected to Ms. Maxwell’s proposed questions. Id. The Court

partially agreed with the prosecution, asking a single question about whether potential

jurors had been actual victims of sexual assault, sexual abuse, or sexual harassment.

       Specifically, Question 48 asked:

       Have you or a friend or family member ever been the victim of sexual
       harassment, sexual abuse, or sexual assault? (This includes actual or
       attempted sexual assault or other unwanted sexual advance, including by a
       stranger, acquaintance, supervisor, teacher, or family member.)

The questionnaire offered three answers: “Yes (self),” “Yes (friend or family member),”

and “No.”




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       If a potential juror selected either “yes” option, the questionnaire asked individuals

to explain their answer in writing, to state whether having been a victim of sexual assault,

sexual abuse, or sexual harassment would affect their ability to serve fairly and

impartially, and if so, to explain why.

       Finally, Question 50 asked potential jurors if there was any experience that they

had that might affect their ability to serve fairly and impartial as a juror.

       Six-hundred and ninety-four individuals answered the questionnaire.

         B. Juror No. 50’s questionnaire

       Juror No. 50’s questionnaire is attached as EXHIBIT 1. Under the penalty of

perjury, Juror. No. 50 answered these questions as follows:

           • Question 13: “Yes,” Juror No. 50 could decide the case solely based on the

              evidence or lack of evidence and not based on bias, sympathy, or prejudice.

           • Question 25: “No,” Juror No. 50 had never been the victim of a crime.

           • Question 42: “No,” there was nothing about the nature of the allegations

              against Ms. Maxwell that “might make it difficult” for Juror No. 50 to be

              fair and impartial.

           • Question 43: “No,” Juror No. 50 did not have any views about laws

              concerning the age of consent that would affect his ability to be fair and

              impartial.

           • Question 44: “No,” Juror No. 50 did not have any views about the laws

              governing sex trafficking and sex crimes against minors that would affect

              his ability to be fair and impartial.


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          • Question 47, “No,” Juror No. 50 would not have any difficulty assessing

              the credibility of alleged victims of sexual assault or abuse just as he would

              assess the credibility of any other witness.

          • Finally, and most importantly, Juror No. 50 answered “no” when asked in

              Question 48 if he had ever been the victim of victim of sexual harassment,

              sexual abuse, or sexual assault, including actual or attempted sexual assault

              or other unwanted sexual advance, including by a stranger, acquaintance,

              supervisor, teacher, or family member.

         C. Juror No. 50’s voir dire

       Prior to trial, defense counsel moved the Court to permit limited, attorney-

conducted voir dire of potential jurors. Doc. 342. Defense counsel explained that given

the nature of the allegations, the stakes involved, and the omnipresent media coverage,

attorney-conducted voir dire to supplement the Court’s voir dire was necessary to ensure

a fair and impartial jury. Id. at 7-15. Defense counsel pointed specifically to the potential

that certain jurors could not be fair if they had been a victim of sexual assault or sexual

abuse. Id. at 9-10. The Court declined to permit attorney-conducted voir dire. TR

10/21/2021, p 8.

       Prior to trial, defense counsel also proposed that the Court individually ask each

juror in person several questions including "Have you or anyone close to you ever been

the victim of a crime?" and "Have you or has anyone close to you ever been the victim of

a sexual crime?" Doc. 367-1 at 14. The government objected that the questions were

"duplicative of questions included in the proposed voir dire" and should not be asked


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again. Id. at 13. The defense responded in part that "asking the questions live when the

jurors' reactions, hesitations, explanations can be explored by the Court and observed by

the parties will aid in the selection of an impartial and fair jury." Id. The Court denied

the defense's request.

       Juror No. 50 appeared for his voir dire on November 16. Because Juror No. 50

answered “no” to all the relevant questions about sexual abuse, sexual assault, sexual

harassment and being the victim of a crime, his voir dire was very brief, spanning just

seven pages of transcript. TR 11/6/2021, pp 128-34; EXHIBIT 2. The Court did not ask

Juror No. 50 whether the abuse he suffered would make it difficult to be a fair and

impartial juror, whether he would be biased against Ms. Maxwell, whether he could set

aside any bias he might have, or whether he could fairly and impartially evaluate Ms.

Maxwell’s defense, which challenged, in part, the reliability of her accusers’ memories.

       As to the questions the Court did ask (most of which addressed his personal

background),




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       At the end of the very brief voir dire examination, the Court asked Juror No. 50 if

he had “[a]ny doubt about [his] ability to” be fair to both sides. Id. at 134. Juror No. 50

said, “no.” Id. The Court concluded: “Other than what I have asked you, do you have any

reason to think that you can’t be fair and impartial here?” Id. Juror No. 50 responded, “I

do not.” Id.

       The Court inquired whether the parties had any follow-up questions. Because

Juror No. 50 denied any bias or inability to be fair and impartial, and because his answers

to the questionnaire did not raise any red flags about his ability to serve as a fair and

impartial juror in a case involving alleged sexual assault and sexual abuse, Ms.

Maxwell’s attorneys did not propose any follow-up questions.




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          D. The final composition of the jury

      Six-hundred and ninety-four potential jurors answered the 50-question

questionnaire.

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      2
        The parties submitted this joint list before reviewing the second round of
questionnaires.


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           • Of the 5 jurors seated as alternates, none disclosed on their questionnaires

              that they were victims of sexual abuse, sexual assault, or sexual

              harassment.4

           • Of the 12 deliberating jurors, none disclosed on their questionnaires that

              they were victims of sexual abuse, sexual assault, or sexual harassment.

As we now know, however, Juror No. 50 was not telling the truth when he denied being a

victim of a crime or being a victim of sexual abuse, sexual assault, or sexual harassment.

And as explained below, it appears a second deliberating juror was also untruthful when

they denied being a victim of sexual abuse, sexual assault, or sexual harassment.




  II. Juror No. 50’s admissions that he wasn’t truthful with the Court


       4
         The court originally seated 6 alternates, but one alternate became a deliberating
juror when an original juror was excused due to a family commitment. None of the 18
individuals selected for service as a deliberating or alternate juror answered “yes” when
asked if they were a victim of sexual abuse, sexual assault, or sexual harassment.


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           A. Juror No. 50’s statements to the media

             1. The interview with The Independent

       On January 4, 2022, less than one week after the jury returned its verdict, Lucia

Osborne-Crowley of The Independent published an article based on an interview with

Juror No. 50.5 Going by the name Scotty David, Juror No. 50 told Ms. Osborne-Crowley

that “[t]his verdict is for all the victims” and “shows that you can be found guilty no

matter your status.” Juror No. 50 admitted to being a victim of sexual assault and abuse,

telling Ms. Osborne-Crowley that he revealed the abuse to the jury and that his story was

fundamental to the jury’s verdict. According to Juror No. 50, the “jury room went dead

silent when he shared his story.”

       Juror No. 50 explained to Ms. Osborne-Crowley how his own experience helped

the jury come to believe the alleged victims despite the holes and inconsistencies in their

stories. “I know what happened when I was sexually abused. I remember the colour of

the carpet, the walls. Some of it can be replayed like a video.”

       Relying on his own experiences, Juror No. 50 refused to credit the testimony of

Dr. Elizabeth Loftus, Ms. Maxwell’s expert witness on memory. None of Dr. Loftus’s

testimony, said Juror No. 50, “relate[d]to traumatic memory.” Juror No. 50 explained all

of this to the jury. Ms. Maxwell’s accusers “were all believable,” Juror No. 50 said.

“Nothing they said felt to me like a lie.” Sometimes, he said, you can misremember

trivial details of a traumatic event without every doubting the core of the memory.


       5
       https://www.independent.co.uk/news/world/americas/maxwell-juror-account-
abuse-b1986478.html


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       Juror No. 50 also explained, again based on his personal experience, why it was

immaterial to him and the jury that the alleged victims did not disclose Ms. Maxwell’s

alleged involvement until very recently, some twenty years after the alleged abuse. “I

didn’t disclose my abuse until I was in high school,” he said.

       Juror No. 50 also had an excuse for why the alleged victims in this case kept going

back to Mr. Epstein and Ms. Maxwell and accepting help from them even after they had

been abused. The alleged victims’ conduct, explained Juror No. 50, was irrelevant to their

credibility. In Juror No. 50’s view, Ms. Maxwell’s defense team was continually

attacking the alleged victims and trying to get the jury to judge them for their decisions,

as opposed to arguing that their stories were not worthy of belief.

           2. The interview with the Daily Mail

       On January 5, the Daily Mail published an article based on its interview with Juror

No. 50,6 in which he described Ms. Maxwell as a “predator.” Juror No. 50 also shared

that he helped other members of the jury understand things from a victim’s point of view

and explained how “you can’t remember all the details” of traumatic memories: “there

are some things that run together.” When Juror No. 50 told his fellow jurors of the abuse

he suffered, the room “went silent.” Although he couldn’t remember every detail, there

were others that stuck with him: “I know what happened when I was sexually abused. I

remember the color of the carpet, the walls. Some of it can be replayed like a video.”

Juror No. 50 said the verdict was for “all the victims.”


       6
        https://www.dailymail.co.uk/news/article-10370193/Ghislaine-Maxwell-juror-
says-evidence-convinced-panel-predator.html


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           3. The interview with Reuters

       The same day the Daily Mail published its article, Reuters also published a story

based on an interview Juror No. 50 provided to journalist Luc Cohen.7 In the Reuters

interview, Juror No. 50 elaborated about the purpose and effect of his disclosing to the

jury that he was a victim of sexual assault. According to Juror No. 50, coming to a

unanimous verdict “wasn’t easy, to be honest.” In fact, several jurors doubted the

credibility of Jane and Carolyn. “When I shared that [I had been sexually abused],”

recounted Juror No. 50, the jurors who had doubts “were able to sort of come around on,

they were able to come around on the memory aspect of the sexual abuse.”

           4. The partial video of the interview with the Daily Mail

       On January 7, the Daily Mail published a video of a portion of the interview with

Juror No. 50. This video is submitted to the Court as EXHIBIT 3. The video shows the

moment when the interviewer confronts Juror No. 50 about whether he disclosed to the

Court and the parties that he was a victim of sexual assault. The interviewer asks whether

Juror No. 50’s history of being sexually abused was “something that [he’d] said yes to in

the questionnaire” such that it “was something people were aware of when [he was]

selected as a juror.”

       Juror No. 50 denied being asked such a question, saying, “No, they don’t ask your

sexual abuse history. They didn’t ask it in the questionnaire.”




       7
       https://www.reuters.com/world/us/some-ghislaine-maxwell-jurors-initially-
doubted-accusers-juror-says-2022-01-05/


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       The interviewer challenges Juror No. 50 on this response, saying, “I thought in the

questionnaire, there was a question that asked if you were a victim or if you were a friend

or a relative of a victim.” “Pretty sure it was number 48,” the interviewer concludes.

       “Interesting,” Juror No. 50 responds, his face turning red.

       The interviewer notices that Juror No. 50’s face is flushing, saying, “You’re not

out in the sun right now [inaudible].”

       Juror No. 50 stumbles to respond: “No, No! I know my face is red because I can

feel the blood but, I honestly—that’s why I answered it that way. I don’t remember it

being there but. Um… I did answer, I definitely remember a family or relative or

something but—being sexually abused. I was honest on all my questions.”

        B. Juror No. 50’s social media activity

       On January 4, after Ms. Osborne-Crawley first published her interview with Juror

No. 50, Annie Farmer quote-Tweeted a Tweet from Ms. Osborne-Crawley, linking to the

interview. Ms. Farmer said:




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A short time later, Juror No. 50 “liked” Ms. Farmer’s Tweet. Juror No. 50 then Tweeted

directly to Ms. Farmer in response:




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Juror No. 50 also “liked” Ms. Osborne-Crawley’s Tweet linking to his interview.

      At the time Juror No. 50 Tweeted to Ms. Farmer, his Twitter handle was the same

name he used in his press interviews: “@ScottyDavidNYC.”




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Shortly after Tweeting Ms. Farmer, however, Juror No. 50 changed his Twitter handle to

“@NycSsddd.” He also attempted to delete his Tweet to Ms. Farmer.




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Juror No. 50 did not “unlike” Ms. Farmer’s Tweet, or the Tweet by Ms. Osborne-

Crawley linking to his interview.

      In early January, Juror No. 50 also posted about his jury service on his Instagram

account,




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      Shortly thereafter, Juror No. 50 predictably deleted his Twitter account and his

Instagram account. He also appears to have deleted his Facebook and LinkedIn accounts.




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            C. A second juror admits to disclosing during deliberations that they were
               a victim of sexual assault

       During his press tour, Juror No. 50 revealed in interviews that he was not alone in

revealing to jurors that he was a victim of sexual assault, describing to reporter that a

second juror also disclosed that they were a victim of sexual abuse.8 On January 5, the

New York Times published an article confirming Juror No. 50’s statement, reporting that

“a second juror described in an interview . . . having been sexually abused as a child.”9

“This juror, who requested anonymity, said that they, too, had discussed the experience

during deliberations and that the revelation had appeared to help shape the jury’s

discussions.” To date, this juror has not publicly revealed their identity, and Ms. Maxwell

does not know who it is.10


                                      Applicable Law
   I. Juror No. 50’s misconduct deprived Ms. Maxwell of her constitutional right
      to a fair trial by an impartial jury.

            A. A party alleging unfairness based on undisclosed juror bias must
               demonstrate first, that the juror’s voir dire response was false and


       8
        https://www.dailymail.co.uk/news/article-10379445/Ghislaine-Maxwells-
lawyers-fought-ask-jurors-detailed-questions-sexual-abuse.html
       9
           https://www.nytimes.com/2022/01/05/nyregion/maxwell-trial-jury-inquiry.html
       10




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             second, that the correct response would have provided a valid basis for
             a challenge for cause.

       Federal Rule of Criminal Procedure 33 provides that, “[u]pon the defendant’s

motion, the court may vacate any judgment and grant a new trial if the interest of justice

so requires.” Fed. R. Crim. P. 33(a).

       The Sixth Amendment guarantees a criminal defendant the right to a trial by an

impartial jury. U.S. Const. amend. VI. In McDonough Power Equipment, Inc. v.

Greenwood, the Supreme Court recognized that “[o]ne touchstone of a fair trial is an

impartial trier of fact—‘a jury capable and willing to decide the case solely on the

evidence before it.’” 464 U.S. 548, 554 (1984) (quoting Smith v. Phillips, 455 U.S. 209,

217 (1982)). “The right to trial before an impartial trier of fact—be it a jury or a judge—

therefore implicates Due Process as well as Sixth Amendment rights.” United States v.

Nelson, 277 F.3d 164, 201 (2d Cir. 2002).

       In turn, “[v]oir dire plays an essential role in protecting the right to trial by an

impartial jury.” United States v. Daugerdas, 867 F. Supp. 2d 445, 468 (S.D.N.Y. 2012)

(granting new trial to three defendants based on juror dishonesty during voir dire and

concluding one defendant, Parse, waived his new trial motion), vacated and remanded

sub nom. United States v. Parse, 789 F.3d 83 (2d Cir. 2015) (reversing district court’s

conclusion that the defendant Parse waived his new trial motion). It is bedrock

constitutional law that defendants have a right to “a full and fair opportunity to expose

bias or prejudice on the part of veniremen” and that “there must be sufficient information

elicited on voir dire to permit a defendant to intelligently exercise not only his challenges



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for cause, but also his peremptory challenges.” United States v. Barnes, 604 F.2d 121,

139 (2d Cir. 1979) (internal quotations and citations omitted). “A juror’s dishonesty

during voir dire undermines a defendant’s right to a fair trial.” Daugerdas, 867 F. Supp.

2d at 468; U.S. Const. amend. VI.

       “[A] party alleging unfairness based on undisclosed juror bias must demonstrate

first, that the juror’s voir dire response was false and second, that the correct response

would have provided a valid basis for a challenge for cause.” United States v. Stewart,

433 F.3d 273, 303 (2d Cir. 2006) (citing McDonough, 464 U.S. at 556).

       A defendant need not demonstrate prejudice when a juror gives a false answer to a

material question during voir dire if the juror would have been subject to a challenge for

cause if he had answered honestly. See United States v. Martinez-Salazar, 528 U.S. 304,

316 (2000) (the “seating of any juror who should have been dismissed for cause” “would

require reversal”). When a biased juror deliberates on a jury, structural error occurs, and a

new trial is required without a showing of actual prejudice. See Arizona v. Fulminante,

499 U.S. 279, 307-10 (1991).

         B. An intentionally false answer during voir dire is not a prerequisite to
            obtaining a new trial.

       “Intentionally false” juror answers are not a prerequisite to a finding that a

defendant’s constitutional right to a fair and impartial jury have been violated.

McDonough, 464 U.S. at 553-56; id. at 556-57 (Blackmun, J., concurring); id. at 557-59

(Brennan, J., concurring in judgment). So long as a truthful answer would have subjected

the juror to a challenge for cause based on bias, an inadvertent false answer is just as



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invidious as an intentionally false answer. United States v. Langford, 990 F.2d 65, 68 (2d

Cir. 1993).11 As the Second Circuit held in Langford:

       We read [McDonough] multi-part test as governing not only inadvertent
       nondisclosures but also nondisclosures or misstatements that were deliberate,
       for though the McDonough Court began with the inadvertent response before
       it, it stated that the further showing of cause must be made even after a juror’s
       “failure to answer honestly,” and it hypothesized that there could be various
       “motives for concealing.” Concurring in the judgment, Justice Brennan
       similarly stated that a second element—bias—should be required even if the
       juror’s erroneous response was deliberate. Thus, he stated that the

                proper focus when ruling on a motion for new trial in this
                situation should be on the bias of the juror and the resulting
                prejudice to the litigant. . .

                . . . Whether the juror answered a particular question on voir
                dire honestly or dishonestly, or whether an inaccurate answer
                was inadvertent or intentional, are simply factors to be
                considered in th[e] . . . determination of actual bias.

Langford, 990 F.2d at 68 (quoting McDonough, 464 U.S. at 557-58 (Brennan, J.,

concurring in judgment)).

       The seminal case addressing a juror’s false answers during voir dire is

McDonough Power Equipment, Inc. v. Greenwood. McDonough was a products liability

action in which Juror Payton remained silent when the district court asked, “how many of

you [potential jurors] have yourself or any members of your immediate family sustained

any severe injury [in] an accident at home, or on the farm or at work that result in any

disability or prolonged pain and suffering?” 464 U.S. at 550. After trial, it was discovered




       11
            This caselaw uses “deliberate” and “intentional” interchangeably.


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that Juror Payton’s son had been injured in an explosion of a fire truck. Id. at 551. The

district court denied a motion for a new trial without holding a hearing. Id.

       The court of appeals reversed, ordering a new trial instead of remanding for a

hearing. Id. at 551-52. The court of appeals held that if “an average prospective juror

would have disclosed the information, and that information would have been significant

and cogent evidence of the juror’s probable bias, a new trial is required to rectify the

failure to disclose it.” Id. at 552. “Good faith,” said the court, was “irrelevant to the

inquiry.” Id.

       The Supreme Court reversed the court of appeals, concluding that it employed the

wrong standard and erred in reaching the merits instead of remanding the case to the

district court for an evidentiary hearing. Id. at 556. As for the correct legal standard, the

Court said that

       to obtain a new trial in such a situation, a party must first demonstrate that a
       juror failed to answer honestly a material question on voir dire, and then
       further show that a correct response would have provided a valid basis for a
       challenge for cause.

Id. The Court remanded to the court of appeals to consider any outstanding issues and,

assuming the judgment wasn’t reversed for other reasons, to remand to the district court

for an evidentiary hearing applying the new legal standard. Id.

       The court emphasized that “[v]oir dire examination serves to protect [the fair trial]

right by exposing possible biases, both known and unknown, on the part of potential

jurors” and that the “necessity of truthful answers by prospective jurors if [voir dire] is to

serve its purpose is obvious.” Id. at 554. The Court did not expressly disavow the court of



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appeals’ statement that the good faith of a potential juror was “irrelevant” to the inquiry.

Id. at 553-56.

       There were two concurring opinions in McDonough, joined by a total of five

justices, which make clear that an intentionally false answer is not a prerequisite to

obtaining a new trial. Writing for himself and Justices Stevens and O’Connor, Justice

Blackmun said:

       I agree with the Court that the proper inquiry in this case is whether the
       defendant had the benefit of an impartial trier of fact. I also agree that, in
       most cases, the honesty or dishonesty of a juror’s response is the best initial
       indicator of whether the juror in fact was impartial. I therefore join the
       Court’s opinion, but I write separately to state that I understand the Court’s
       holding not to foreclose the normal avenue of relief available to a party who
       is asserting that he did not have the benefit of an impartial jury. Thus,
       regardless of whether a juror’s answer is honest or dishonest, it remains
       within a trial court’s option, in determining whether a jury was biased, to
       order a post-trial hearing at which the movant has the opportunity to
       demonstrate actual bias or, in exceptional circumstances, that the facts are
       such that bias is to be inferred. See Smith v. Phillips, 455 U.S. 209, 215-16
       (O’Connor, J., concurring).

Id. at 556-57 (Blackmun, J., concurring (emphasis added)). This was the entirety of

Justice Blackmun’s dissent. Id.

       For his part, Justice Brennan joined by Justice Marshall recognized that “the bias

of a juror will rarely be admitted by the juror himself, ‘partly because the juror may have

an interest in concealing his own bias and partly because the juror may be unaware of

it.’” Id. at 558 (Brennan, J., concurring in judgment) (quoting majority opinion).

“Necessarily,” then, Justice Brennan explained, bias “must be inferred from surrounding

facts and circumstances.” Id. “Whether the juror answered a particular question on voir

dire honestly or dishonestly, or whether an inaccurate answer was inadvertent or


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intentional, are simply factors to be considered in this latter determination of actual bias.”

Id. “One easily can imagine cases in which a prospective juror provides what he

subjectively believes to be an honest answer, yet that same answer is objectively incorrect

and therefore suggests that the individual would be a biased juror in the particular case.”

Id. at 559.

       The Second Circuit adopted this reading of McDonough, endorsing the view

expressed by Justice Brennan (and shared by Justice Blackmun) that an intentionally false

answer is not a prerequisite to obtaining a new trial. United States v. Langford, 990 F.2d

65, 68 (2d Cir. 1993) (“We read this multi-part test as governing not only inadvertent

nondisclosures but also nondisclosures or misstatements that were deliberate.”); id. at 68

(adopting Justice Brennan’s reasoning). Accordingly, in the Second Circuit, “a party

alleging unfairness based on undisclosed juror bias must demonstrate first, that the juror’s

voir dire response was false and second, that the correct response would have provided a

valid basis for a challenge for cause.” United States v. Stewart, 433 F.3d 273, 303 (2d

Cir. 2006).

       Of course, individuals cannot be allowed to lie their way onto a jury. Writing for a

unanimous Supreme Court, Justice Cardozo concluded: “If the answers to the questions

[during voir dire] are willfully evasive or knowingly untrue, the talesman, when

accepted, is a juror in name only . . . His relation to the court and to the parties is tainted

in its origin; it is a mere pretense and sham.” Clark v. United States, 289 U.S. 1, 11

(1933). “[A] juror who lies [his] way onto a jury is not really a juror at all; []he is an

interloper akin ‘to a stranger who sneaks into the jury room.’” Daugerdas, 867 F. Supp.


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2d at 468 (quoting Dyer v. Calderon, 151 F.3d 970, 983 (9th Cir.1998) (en banc)).

“[C]ourts cannot administer justice in circumstances in which a juror can commit a

federal crime in order to serve as a juror in a criminal case and do so with no fear of

sanction so long as a conviction results.” United States v. Colombo, 869 F.2d 149, 152

(2d Cir. 1989).

                                         Argument
   I. Ms. Maxwell is entitled to a new trial.

       This Court must order a new trial if Ms. Maxwell can make two showings: First,

that Juror No. 50’s voir dire response was false and second, that the correct response

would have provided a valid basis for a challenge for cause. Stewart, 433 F.3d at 303.

Even without an evidentiary hearing, Ms. Maxwell has made that showing here.

         A. Juror No. 50 did not truthfully answer material questions during voir
            dire, including Questions 25 and 48.

       There is no reasonable dispute that Juror No. 50’s voir dire responses were false.

Juror No. 50 has told several media outlets that he was a victim of sexual assault and

sexual abuse as a child. Necessarily, then, Juror No. 50 did not provide truthful answers

when he denied being the victim of a crime (Question 25) or being a victim of sexual

harassment, sexual abuse, or sexual assault (Question 48).

       And because being a victim of sexual assault or sexual abuse is material to an

individual’s ability to serve as a fair and impartial juror in a case about sexual assault and

sexual abuse, Ms. Maxwell has satisfied the first prong of the McDonough test. See

United States v. Sampson, 820 F. Supp. 2d 151, 172 (D. Mass. 2011) (“[A] matter is



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material if it has a natural tendency to influence, or be capable of influencing, the judge

who must decide whether to excuse a juror for cause.” (citing Neder v. United States, 527

U.S. 1, 16 (1999) (giving general definition of materiality))).

         B. Had Juror No. 50 answered Questions 25 and 48 truthfully, his answers
            would have provided a valid basis for a challenge for cause.

       The second question is whether truthful responses from Juror No. 50 would have

provided a valid basis for a challenge for cause. See Stewart, 433 F.3d at 303. “[T]he test

is not whether the true facts would compel the Court to remove a juror for cause, but

rather whether a truthful response ‘would have provided a valid basis for a challenge for

cause.’” Daugerdas, 867 F. Supp. 2d at 470 (quoting McDonough, 464 U.S. at 556).

       “An impartial jury is one in which every juror is ‘capable and willing to decide the

case solely on the evidence before [him].’” Id. (quoting McDonough, 464 U.S. at 554).

“Jurors are instructed that they are to decide the question of a defendant’s guilt based

solely on the evidence presented.” Id. (citing United States v. Thomas, 116 F.3d 606, 616-

17 n.10 (2d Cir. 1997). A juror is biased—i.e., not impartial—if his experiences “would

‘prevent or substantially impair the performance of his duties as a juror in accordance

with his instructions and his oath.’” Wainwright v. Witt, 469 U.S. 412, 424 (1985)

(quoting Adams v. Texas, 448 U.S. 38, 45 (1980)); see also United States v. Torres, 128

F.3d 38, 43 (2d Cir. 1997) (juror who structured financial transactions properly excused

for cause in case involving structuring of cash deposits).




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       Challenges for cause can be based on implied bias, inferable bias, or actual basis.

See Torres, 128 F.3d at 43; see also Sampson, 820 F. Supp. 2d at 162–67 (discussing at

length each type of bias).

           1. Implied bias

       “Implied or presumed bias is ‘bias conclusively presumed as a matter of law.’”

Torres, 128 F.3d at 45 (quoting Wood, 299 U.S. at 133). “It is attributed to a prospective

juror regardless of actual partiality.” Id. “In contrast to the inquiry for actual bias, which

focuses on whether the record at voir dire supports a finding that the juror was in fact

partial, the issue for implied bias is whether an average person in the position of the juror

in controversy would be prejudiced.” Id. (citing Haynes, 398 F.2d at 984). “And in

determining whether a prospective juror is impliedly biased, ‘his statements upon voir

dire [about his ability to be impartial] are totally irrelevant.” Id. (quoting Haynes, 398

F.2d at 984).

       As is relevant here, there are two ways in which courts imply bias. First, “[c]ourts

imply bias ‘when there are similarities between the personal experiences of the juror and

the issues being litigated.’” Daugerdas, 867 F. Supp. 2d at 472 (quoting Sampson, 820 F.

Supp. 2d at 163-64); see also Skaggs v. Otis Elevator Co., 164 F.3d 511, 517 (10th Cir.

1998) (collecting cases where bias was implied based on the juror’s experiences); see,

e.g., Hunley v. Godinez, 975 F.2d 316, 319-20 (7th Cir. 1992) (holding, in a case

charging murder in the course of a burglary, that bias should be implied where two jurors

were the victims of similar burglaries during deliberations); Burton v. Johnson, 948 F.2d

1150, 1159 (10th Cir. 1991) (holding, in murder case in which the defendant presented a


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defense based on having suffered domestic violence at the hands of the victim, that a

juror living in similarly abusive circumstances at the time of trial, and who gave

dishonest answers regarding that subject at voir dire, was impliedly biased); United

States v. Eubanks, 591 F.2d 513, 517 (9th Cir. 1979) (per curiam) (implying bias where,

in a trial for participation in a heroin distribution conspiracy, a juror failed to disclose at

voir dire that he had two sons who were serving long prison sentences for heroin-related

crimes).

       Second, courts imply bias when “repeated lies in voir dire imply that the juror

concealed material facts in order to secure a spot on the particular jury.” Daugerdas, 867

F. Supp. 2d at 472 (quotation omitted). “A juror . . . who lies materially and repeatedly in

response to legitimate inquiries about her background introduces destructive uncertainties

into the process.” Dyer, 151 F.3d at 983.

       Under both theories, Juror No. 50 was impliedly biased. First, bias should be

implied because this is a case in which “there are similarities between the personal

experiences of the juror and the issues being litigated.’” Daugerdas, 867 F. Supp. 2d at

472. “When a juror has life experiences that correspond with evidence presented during

the trial, that congruence raises obvious concerns about the juror’s possible bias.”

Sampson v. United States, 724 F.3d 150, 167 (1st Cir. 2013) (citing Torres, 128 F.3d at

47-48; Burton, 948 F.2d at 1158-59). “In such a situation, the juror may have enormous

difficulty separating her own life experiences from evidence in the case.” Id. The First

Circuit has commented, for example, that “it would be natural for a juror who had been




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the victim of a home invasion to harbor bias against a defendant accused of such a

crime.” Id.

       The same is true here: “It would be natural for a juror who had been the victim of

[sexual assault and sexual abuse] to harbor bias against a defendant accused of such a

crime.” See id. Like Jane, Carolyn, Kate, and Annie Farmer, Juror No. 50 claims to be a

victim of child sexual abuse. Like Jane, Carolyn, Kate, and Annie Farmer, Juror No. 50

delayed disclosing the abuse he suffered. Like Jane, Carolyn, Kate, and Annie Farmer,

Juror No. 50 says the memories of the abuse he suffered can be “replayed like a video.”

And like Jane, who described Mr. Epstein’s New York apartment and said it had a “red

mood,” TR at 320, Juror No. 50 says he can remember the “color of the carpet, [of] the

walls” in the room where he was abused.

       These similarities are profound because they bear on the principal argument Ms.

Maxwell made against her accusers’ claimed memories: They were corrupted and

unreliable. Juror No. 50’s claim that the memory of his abuse can be “replayed like a

video” is perhaps most significant, because it directly contradicts Dr. Loftus’s expert

testimony:

       Q. Memory has been termed a constructive process; correct?

       A. Yes.

       Q. Could you explain what that means to the jury.

       A. What we mean by that is as I testified earlier, we don’t just record events
       and play it back later like a recording device would work, like a video
       machine, but rather, we are actually constructing our memories when we
       retrieve memories. We often take bits and pieces of experience sometimes




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       that occurred at different times and places, bring it together, and construct
       what feels like a recollection.

TR at 2427. Given Juror No. 50’s personal experience and belief about memory and its

reliability, there was no way he could fairly evaluate Ms. Maxwell’s challenge to the

credibility of her accusers’ memories or the expert testimony of Dr. Loftus.12

       Several decisions support this conclusion. In Sampson v. United States, for

example, the First Circuit affirmed the district court’s decision to order a new penalty-

phase hearing in a death penalty case after a juror falsely denied, among other things,

having been a victim of a crime. 724 F.3d at 154, 162. In fact, however, the juror

repeatedly had been menaced by her husband with a shotgun. Id. at 168. But because the

juror had not told the truth during voir dire, she was seated on a jury in a case involving a

bank robbery in which the defendant threatened bank tellers at gunpoint. Id. “These

parallels,” the Court said, “raise a serious concern as to whether an ordinary person in

[the juror’s] shoes would be able to disregard her own experiences in evaluating the

evidence.” Id.

       To be sure, the juror in Sampson did not limit her false answers to a single

question. She also answered falsely to several other questions during voir dire, some

material and some not. Id. at 162-63, 166. A combination of factors led the First Circuit

to affirm the order for a new penalty-phase hearing. Id. at 168. Here, Juror No. 50’s false


       12
          Juror No. 50’s confidence in his memory is not necessarily a predictor of the
memory’s reliability. As Dr. Loftus testified, “when you have post-event suggestion or
intervention, people get very confident about their wrong answers, and you can see that
even wrong answers or false information, false memories can be expressed with a high
degree of confidence.” TR at 2430.


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answers to Questions 25 and 48 are reason enough to order a new trial because they relate

to the core allegations against Ms. Maxwell. Moreover, if this Court orders an evidentiary

hearing, it is likely additional false answers will come to light, further supporting the

conclusion that Ms. Maxwell is entitled to a new trial.

       In State v. Ashfar, the defendant was convicted of aggravated sexual assault based

on the allegation that he touched the genitals of his 12-year-old client during a therapy

session. 196 A.3d 93, 94 (N.H. 2018).13 The empaneled jury, however, included an

individual who had been sexually assaulted by a babysitter when he was five or six years

old. Id. at 95. The juror had not disclosed this during voir dire and had, instead, answered

“no” when asked if “[he] or a close member of your family or a close friend ever been a

victim of a crime?” Id. at 95. The trial court ordered a new trial, relying both on the

juror’s false answer during voir dire but also his post-verdict conduct, which included

communications with a female victim of sexual assault who wrote a book on the subject

and the juror’s self-identification as “an advocate for people.” Id. at 96. The New

Hampshire Supreme Court affirmed.

       The decisions in Sampson and Ashfar support a new trial here. Like those cases,

Juror No. 50 falsely denied having a personal experience strikingly similar to the conduct

at issue in the criminal case. Juror No. 50’s experience as a sexual assault victim “raise[s]



       13
          Because state courts are more often the venue for prosecution of crimes
involving sexual assault, state court decisions are particularly helpful. The New
Hampshire Supreme Court “assum[ed] without deciding that McDonough provides the
applicable analytical framework” and concluded that the trial court “sustainably exercised
its discretion in finding the juror “was not impartial.” 196 A.3d at 97.


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a serious concern as to whether an ordinary person in [Juror No. 50’s] shoes would be

able to disregard [his] own experiences in evaluating the evidence.” Id. Moreover, like

the juror in Ashfar, Juror No. 50’s post-trial conduct further supports a finding of implied

bias. The juror in Ashfar communicated with a victim of sexual assault; here, Juror No.

50 communicated with Annie Famer. The juror in Ashfar viewed himself as “advocate for

people;” here, Juror No. 50 proclaimed that the verdict against Ms. Maxwell was a

verdict “for all the victims.”

       The bias of Juror No. 50 should be implied for another reason: “[R]epeated lies in

voir dire imply that the juror concealed material facts in order to secure a spot on the

particular jury.” Daugerdas, 867 F. Supp. 2d at 472.




       Crucially, “[e]ven when prospective jurors are dishonest for reasons other than a

desire to secure a seat on the jury, dishonest answers to voir dire questions indicate that a

juror is unwilling or unable ‘to apply the law as instructed by the court to the evidence


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presented by the parties’ and, therefore, are indicative of a lack of impartiality because a

fundamental instruction in every federal case is that a juror must render a verdict ‘solely

on the evidence presented at trial.’” Sampson, 820 F. Supp. 2d at 165 (quoting Thomas,

116 F.3d at 617 & n.10 (citing The Federal Judicial Center’s Benchbook for U.S. District

Court Judges)). Therefore, dishonest answers are a factor that can contribute to a finding

of implied bias. See Skaggs, 164 F.3d at 517.

         The false answers Ms. Maxwell knows about so far, by themselves, provide a

basis for a new trial because, if they had been exposed during voir dire, this Court would

have treated Juror No. 50 just as it treated Juror No.    .




                                                                                  . But he

also did much more, falsely denying that he had been a victim of sexual assault or sexual

abuse.



         This Court should treat Juror No. 50 just as it treated Juror No.   , and on that

ground order a new trial.

                                                      .




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           2. Inferable bias

       “‘Inferable’ or ‘inferred’ bias exists ‘when a juror discloses a fact that bespeaks a

risk of partiality sufficiently significant to warrant granting the trial judge discretion to

excuse the juror for cause, but not so great as to make mandatory a presumption of bias.’”

Daugerdas, 867 F. Supp. 2d at 474 (quoting United States v. Greer, 285 F.3d 158, 171

(2d Cir. 2002)). A court should dismiss a potential juror for inferable bias “after having

received responses from the juror that permit an inference that the juror in question would

not be able to decide the matter objectively.” Torres, 128 F.3d at 47. “[T]his is so even

though the juror need not be asked the specific question of whether he or she could

decide the case impartially.” Id.

       “Moreover, once facts are elicited that permit a finding of inferable bias, then, just

as in the situation of implied bias, the juror’s statements as to his or her ability to be

impartial become irrelevant.” Id. “The crux of the implied bias analysis in a case like this

one is found in an examination of the similarities between the juror’s experiences and the

incident giving rise to the trial.” Torres, 128 F.3d at 48 (quoting Gonzales v. Thomas, 99

F.3d 978, 989 (10th Cir. 1996)). Assuming this Court does not imply bias, it should

nevertheless infer bias.

       In United States v. Torres, the defendant was convicted of conspiracy to launder

the proceeds of a heroin trafficking scheme by structuring financial transactions. 128 F.3d

at 41. Over the defense’s objection, the district court (Judge Preska) dismissed for cause a

potential juror who admitted that she “had at one time engaged in the ‘structuring’ of

cash transactions.” Id. at 42. On appeal, the Second Circuit affirmed, concluding that the


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district court did not err in inferring bias. Id. at 47-48. “Given the similarity of Juror No.

7’s structuring activity to the conduct alleged against appellant Devery in this case, it was

reasonable for Judge Preska to conclude that the average person in Juror No. 7’s position

might have felt personally threatened.” Id. at 48. Although the Court in Torres declined

to define the “precise scope of a trial judge’s discretion to infer bias,” Judge Calabresi

further explained:

       It is enough for the present to note that cases in which a juror has engaged in
       activities that closely approximate those of the defendant on trial are
       particularly apt. The exercise of the trial judge’s discretion to grant
       challenges for cause on the basis of inferred bias is especially appropriate
       in such situations.

Id. at 47 (emphasis added).

       Just as it is “especially appropriate” for a court to infer bias when a potential juror

has engaged in “activities that closely approximate those of the defendant on trial,” so too

is it “especially appropriate” for a court to infer bias when a potential juror has been

subject to conduct “that closely approximate[d] [that] of the defendant on trial.” See id. In

such a case, there is just too great a risk that such a juror will not be able to decide the

case purely based on the applicable law and the evidence or lack of evidence, even

though that inability may be unconscious. This is one such case.

           3. Actual bias

       “Actual bias is ‘bias in fact’—the existence of a state of mind that leads to an

inference that the person will not act with entire impartiality.” Torres, 128 F.3d at 43

(citing United States v. Wood, 299 U.S. 123, 133 (1936)). “A juror is found by the judge

to be partial either because the juror admits partiality, or the judge finds actual partiality


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based upon the juror’s voir dire answers.” Id. (citing United States v. Haynes, 398 F.2d

980, 984 (2d Cir. 1968) (actual bias is “based upon express proof, e.g., by a voir dire

admission by the prospective juror of a state of mind prejudicial to a party’s interest”);

Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981) (plurality opinion) (“Without

an adequate voir dire the trial judge’s responsibility to remove prospective jurors who

will not be able impartially to follow the court’s instructions and evaluate the evidence

cannot be fulfilled.”)).

       This Court need not decide whether Juror No. 50 was actually biased, since this

Court can and should imply and infer bias. Assuming this Court holds an evidentiary

hearing at which Juror No. 50 is compelled to give truthful answers to the questions he

would have been asked if he had not falsely responded to the questionnaire, Ms. Maxwell

reserves the right to argue that Juror No. 50 was actually biased.

         C. Juror No. 50’s answers to Questions 25 and 48 were intentionally false.

       Ms. Maxwell does not need to prove that Juror No. 50’s voir dire answers were

intentionally false. As explained above, she need only prove “first, that the juror’s voir

dire response was false and second, that the correct response would have provided a valid

basis for a challenge for cause.” Stewart, 433 F.3d at 303. Nevertheless, assuming this

Court concludes that Ms. Maxwell must prove Juror No. 50 intentionally misled the

Court in falsely answering Questions 25 and 48, Ms. Maxwell has easily met that burden.

       There are at least six reasons to believe Juror No. 50 acted intentionally. First, this

Court need only watch the video of Juror No. 50 being confronted with his false answers

to appreciate that he acted intentionally. Juror No. 50’s face immediately flushed and


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turned red, and he grasped for words when the Daily Mail reporter told him about

Question 48. “Interesting,” Juror No. 50 said, struggling for an explanation. Unable to

credibly explain away his false answer, Juror No. 50 eventually put together a

nonsensical response: “No, No! I know my face is red because I can feel the blood but, I

honestly—that’s why I answered it that way.”

       Second, Juror No. 50’s attempt to justify his false answer by claiming he “flew

through” the questionnaire is not worthy of belief. The questionnaire instructed potential

jurors to “carefully” compete it. No time limitation was imposed for completion of the

questionnaire. It emphasized that only the parties and the Court would know the identities

of the jurors. It advised that there are no “right or wrong” answers, “only truthful

answers.” And it assured jurors that their privacy would be respected and that if an

answer to any question was embarrassing or caused the juror particular concern, they

could alert the Court. The Court must presume Juror No. 50 heeded these instructions.

Indeed, there is compelling evidence that Juror No. 50 carefully followed these

instructions and did not “fly through” the questionnaire, as he now claims.




       Third, it is simply not credible that Juror No. 50




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                            Ex. 1, p 3 (“The purpose of this questionnaire is to determine

whether prospective jurors can decide this case impartially based upon the evidence

presented at trial and the legal instructions given by the presiding judge.”). The

questionnaire also told potential jurors that it would ask personal questions. Id.

(“Although some of the questions may appear to be of a personal nature, please

understand that the Court and the parties must learn enough information about each

juror’s background and experience to select a fair and impartial jury.”).




       Fourth, Juror No. 50’s post-verdict conduct shows his false answers to the

questionnaire were intentional. Juror No. 50 went on a media press to promote himself,

his experience as a victim, and his role on the jury. He has given multiple interviews to




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several different news outlets (some of which he was likely paid for) 14, and he sat for an

interview as part of an hour-long “documentary” called “Ghislaine, Prince Andrew and

the Paedophile,” which aired on the British channel ITV. He has engaged on Twitter with

the journalist who wrote about him, and he has communicated directly with Annie

Farmer. See Ashfar, 196 A.3d at 95-96 (relying on juror’s post-trial conduct as a basis for

concluding juror was biased and new trial was required because juror falsely answered

material question during voir dire). Juror No. 50’s publicity tour appears to have stopped

(at least temporarily) only because the government publicly filed a letter asking this

Court to inquire into Juror No. 50’s truthfulness and suggesting that he needed a lawyer.

The clear message from the government to Juror No. 50 was to stop talking.15


       14
         It is common for the British press to pay for crime victims’ stories. See, e.g,
https://www.mirror.co.uk/sell-my-story/; https://trianglenews.co.uk/sell-my-story-to-the-
daily-mail/; https://www.dailymail.co.uk/home/contactus/index.html
       15
         Juror No. 50 was clearly enjoying his fifteen minutes of fame in early January
2022, giving multiple interviews in which he congratulated himself as the person who
persuaded the other jurors to adopt his biased view of the evidence and to vote to convict
Ms. Maxwell.
        The government recognized that Juror No. 50 had dug a very deep hole—a hole
that looked to be getting deeper. Without conferring as to either the submission of the
letter or any redactions, the government publicly filed Docket No. 568. This letter
communicated to Juror No. 50, and the media, that Juror No. 50 had done something
wrong, that his conduct would be subject to scrutiny, and that the conduct was serious
enough to warrant appointment of a lawyer, free of charge if necessary.
        Had Ms. Maxwell been asked, she would have objected to the public filing of this
letter, which caused Juror No. 50 to delete his social media accounts and alerted Juror
No. 50 that he needed to stop giving media presentations and to work on his story.
       The government knows how to file a letter under seal, and this Court’s protocol
throughout this case has been for the parties to file letters or pleadings under restriction
with a conferral and briefing as to what portion of the document should be redacted. The


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       Fifth, Juror No. 50’s false answer to question 48 was not a one-off mistake. He

also falsely answered question 25.




       Finally, this case is not like other cases in which a juror may have given a false

answer to avoid embarrassment,. Juror No. 50 has spoken to numerous media outlets

about his service as a juror, has freely admitted that he is the victim of sexual abuse and

sexual assault, and has done the bare minimum to conceal his identity, allowing himself

to be identified by his first name while posing for pictures and being video recorded.

Juror No. 50 has not shunned the limelight. He has reveled in it.

        D. Had Juror No. 50 answered Questions 25 and 48 truthfully, the parties
           and the Court would have explored whether his other answers were
           false.

       Regardless of whether Juror No. 50’s answers were intentional lies or inadvertent

misstatements, his false answers to Questions 25 and 48



                                                                    .

       At the October 21 hearing, this Court emphasized the importance of voir dire, and

it expressed confidence that it could “smoke out” jurors who did not tell the truth:


letter was written by the government with full knowledge that it would be published by
the media and effectively silence Juror No. 50. The submission of the letter was an end
run around this Court’s orders regarding Local Rule 23.1 and Rule 3.6 of the Rules of
Professional Conduct.


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       I will individually, one-on-one, question[] the jurors, and with the parties
       present, I feel confident that I can discern any clear dishonesty. This is not
       just going to be a summary voir dire; it will be probing. . . . If a juror’s going
       to lie and be dishonest, we will smoke that out.

TR 10/21/2021, p 25-26. Because Juror No. 50 did not honestly answer these material

questions, however, the Court and the defense were not alerted to probe these issues and

instead relied on Juror No. 50’s claim that he could be fair and impartial. In hindsight,

that claim is not credible.

       This is not speculation. Rather, based on what Juror No. 50 has said to the media,

it’s clear he was not fair and impartial because his personal experiences “prevent[ed] or

substantially impair[ed] the performance of his duties as a juror in accordance with his

instructions and his oath.” Wainwright, 469 U.S. at 424. If Juror No. 50 had truthfully

disclosed that he was a victim of sexual assault and sexual abuse as a child, the Court and

parties would have probed, among other things, whether he was able (1) to assess the

credibility of alleged sex assault victim like all other witnesses; (2) to fairly evaluate the

testimony of Dr. Loftus; (3) to impartially assess Ms. Maxwell’s defense that her

accusers’ memories were unreliable and tainted by money and manipulation; and (4) set

aside his own traumatic experience when evaluating whether the government met its

burden of proof beyond a reasonable doubt.

       Juror No. 50’s failure to disclose that he was a victim of sexual abuse (Question

48) was further compounded by his failure to disclose that he was merely a victim of a

crime (Question 25). Disclosing that he was a crime victim would have invited inquiry

by counsel and the Court regarding the nature of the crime and would have provided a



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basis for a cause challenge or a peremptory challenge. Juror No. 50’s false answers to

both questions deprived the Court of any basis for any meaningful inquiry on a topic

bearing directly on his ability to serve impartially and the basis for a cause challenge.




                                                       .16




       Truthful answers from Juror No. 50 would have led the Court and the parties to

probe much more deeply into his biases and prejudices, both known and unknown.17 Had

that happened, the record shows that he would have been removed as a potential juror.




       16
         Juror No. 50 continues his media exploits despite being the subject of this
Motion and represented by counsel. On January 18, 2022, he appeared in a documentary
produced by ITV. See https://www.youtube.com/watch?v=SvnwRuDfrdM at timestamps
01:53, 02:32, 04:10, 05:10, 34:36, 38:41, 39:15.

       17
            This follow-up questioning would not have been a mere formality.




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         E. Juror 50’s material misstatements (and those of the second unidentified
            juror) prevented Ms. Maxwell from exercising her peremptory
            challenges, denying her a fair trial.

       Proper voir dire plays a vital role in assuring a defendant’s Sixth Amendment right

to an impartial jury. Without an adequate voir dire the trial judge's responsibility to

remove prospective jurors who may not be able impartially serve cannot be fulfilled.

“Similarly, lack of adequate voir dire impairs the defendant's right to exercise peremptory

challenges where provided by statute or rule, as it is in the federal courts.” Rosales-Lopez

v. United States, 451 U.S. 182, 188 (1981) (citation omitted).

       The role of peremptory challenges in a criminal trial cannot be overstated:

       Peremptory challenges have been an integral aspect of criminal trial
       procedure for over six hundred years and continue to be universally
       employed throughout the country. The underlying thesis is that, with the
       exception of challenges for cause, the suitability of a particular juror is
       counsel's decision and not the court's. Consistent with that thesis and subject
       to constitutional strictures, a peremptory challenge can rest on a good reason,
       a bad reason, or no reason at all.

State v. Scher, 278 N.J. Super. 249, 263, 650 A.2d 1012, 1019 (App. Div. 1994)

(cleaned up).

       Fed. R. Crim. P. 24 entitles a number of peremptory challenges to prospective

jurors. Here, Ms. Maxwell exercised all of her peremptory challenges and, whether for

cause or peremptory, would not have knowing allowed a juror who: (1) claimed to be a

victim of sexual abuse; or (2) neglected to disclose that the juror had been a victim of

sexual abuse; (3)

    . Had Juror 50 disclosed any of these issues, Ms. Maxwell would have used a

peremptory challenge against this juror and not as to any of the other remaining jurors.


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       As discussed in Murphy v. Nogam, No. CV 14-4268 (KM), 2018 WL 278735, at

*25 (D.N.J. Jan. 3, 2018), aff'd sub nom. Murphy v. Adm'r E. Jersey State Prison, No. 18-

2825, 2021 WL 2822179 (3d Cir. July 7, 2021), New Jersey courts have repeatedly

       invalidated judgments where a juror's inaccurate answer to a question
       propounded in the jury voir dire precluded a litigant from exercising a
       peremptory challenge. State v. Scher, 278 N.J. Super. 249, 263
       (App.Div.1994), cert. denied, 140 N.J. 276 (1995) (citing Wright v.
       Bernstein, 23 N.J. 284 (1957); State v. Williams, 190 N.J.Super. 111 (App.
       Div. 1983); State v. Thompson, 142 N.J. Super. 274 (App. Div. 1976)).

       Of course, the material omissions by Juror 50 were not made in New Jersey. The

prejudice to Ms. Maxwell and the concept of fundamental fairness, however, are the same

regardless of which side of the Hudson the misstatements occurred. In a very close,

contested trial where the only real issue was the credibility of the accusers, the failure of

Juror 50 to disclose his claimed victim status in jury selection cheated Ms. Maxwell of

her ability to intelligently exercise her peremptory challenges and robbed her of a fair

trial. In this case truthful responses would have revealed Juror 50’s claimed victim status.

He would have been excused for cause on that basis alone and would never answered any

questions in person.

       Even if Juror 50 had claimed on the questionnaire that he could be fair, despite his

victim status, the result would have been the same. He would have been asked to describe

to the Court and the parties, under oath, what he claimed happened to him, when it

happened, the impact on him, and how he could still be fair. Had Juror 50 revealed to the

Court, as he did to the media, that he believed that his memory “was like a video” and

that he would advocate that the alleged victims here were credible, based on his own



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experiences, he would have been excused, if not for cause, then as a defense peremptory

strike.

  II. The scope of any evidentiary hearing

          Ms. Maxwell does not believe an evidentiary hearing is required because the

undisputed evidence shows (1) that Juror No. 50 falsely answered a material question

during voir dire and (2) that, had he answered truthfully, he would have been subject to a

challenge for cause. If this Court disagrees, however, a formal evidentiary hearing is

appropriate.

          When, as here, there is a plausible claim of juror misconduct, “an unflagging duty

falls to the district court to investigate the claim.” United States v. French, 904 F.3d 111,

117 (1st Cir. 2018) (quotation omitted). “[A] formal evidentiary hearing [is] the gold

standard for an inquiry into alleged juror misconduct.” United States v. French, 977 F.3d

114, 122 (1st Cir. 2020), cert. denied, 141 S. Ct. 2601 (2021), cert. denied sub nom.

Russell v. United States, 141 S. Ct. 2601 (2021).

           A. Pre-hearing discovery

          Ms. Maxwell requests that the Court authorize subpoenas to:

          1.    Juror No. 50 to produce:

                a. Emails or other written communications between Juror No. 50 and any

                    alleged victim or witness in this case;

                b. Emails or other written communications between Juror No. 50 and any

                    other juror in this case;




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              c. Non-privileged emails or other written communications between Juror

                  No. 50 and any other person, including any news or media organization

                  about Juror No. 50’s service as a juror in this case;

              d. Any record of payments to Juror No. 50 in exchange for any interview

                  or information about his service as a juror in this case;

       2.     Facebook, Twitter, LinkedIn, Instagram, or other social media networking

              platforms identified by the parties, to produce:

              a. All communications to and from Juror No. 50 regarding his service as a

                  juror in this case;

              b. All posts, comments, or photographs posted by Juror No. 50 regarding

                  his service as a juror in this case.

              c. All documents reflecting dates on which Juror No. 50 opened or closed

                  his accounts.

         B. The hearing itself

       The misconduct identified potentially implicates all 12 jurors who rendered a

verdict here. According to Juror No. 50 and the New York Times, one other juror did not

disclose that he or she was the victim of sexual abuse as a child. Nevertheless, that juror’s

experiences were discussed apparently in support of Juror No. 50’s position. What these

two jurors disclosed to the (presumably) ten jurors who responded to the questionnaire

truthfully will be relevant to determine the identity of the second juror and what Juror No.

50 said to the other jurors.




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       Ms. Maxwell requests that any hearing begin with the questioning of Juror No. 50.

Ms. Maxwell requests that the Court first advise Juror No. 50 about the nature of the

hearing and then allow defense counsel to question Juror No. 50 followed by questioning

from the government, re-cross examination by defense counsel, followed by any

questions from the Court and any additional questions from counsel based on the Court’s

questions.

       If, after this examination further inquiry is required, Ms. Maxwell suggests that the

second juror be summoned to Court for an identical process. If necessary, this process

should be repeated as to all remaining jurors.

       After the examination of the jurors the parties should be afforded a period of time

to conduct any further investigation warranted by the information presented at the hearing

followed by post-hearing arguments, either oral or written.

       Federal Rule of Evidence 606(b) does not prohibit this inquiry, because Ms.

Maxwell does not seek to impeach the verdict based on the content of deliberations. Cf.

Fed. R. Evid. 606(b) (providing that, with certain exceptions, “a juror may not testify

about any statement made or incident that occurred during the jury’s deliberations”

during “an inquiry into the validity of a verdict”). Instead, she intends to show that her

jury was not fair and impartial as required by the Sixth Amendment because at least two

jurors gave false answers during voir dire to material questions that, if answered

truthfully, would have subject them to a challenge for cause.

       To the extent Rule 606 might apply to certain questions asked at the hearing, Ms.

Maxwell need not inquire into the content of deliberations to establish her jury bias


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claim. See Cunningham v. Shoop, __ F.4th __, 2022 WL 92594, at *14-15 (6th Cir. Nos.

11-3005/20-3429, Jan. 10, 2022) (granting habeas relief as to juror bias claim because it

is “possible for Cunningham to prove that [the juror] was actually biased without relying

on juror testimony in violation of Federal Rule of Evidence 606(b)”); compare Pena-

Rodriguez v. Colorado, 137 S. Ct. 855 (2017) (“Where a juror makes a clear statement

indicating that he or she relied on racial stereotypes or animus to convict a criminal

defendant, the Sixth Amendment requires that the no-impeachment rule give way in order

to permit the trial court to consider the evidence of the juror's statement and any resulting

denial of the jury trial guarantee.”). Without relying on juror testimony, it is already clear

that Juror No. 50 did not truthfully answer the questionnaire; Juror No. 50 has publicly

admitted he is a victim of sexual assault and sexual abuse.

       As for identifying the other juror who was also a victim of sexual assault and

abuse, the Court and parties can identify the juror without eliciting testimony about what

was said during deliberations. The remaining eleven jurors can be asked, under oath,

whether their answer to question 48 is correct and whether they have been a victim of

sexual assault or abuse. Presumably the second juror will self-identify.

 III. Juror No. 50 has no right to intervene.

         A. Juror No. 50 lacks standing.

       Juror No. 50 seeks to intervene suggesting that “it is indisputable that precedent

supports intervention by interested third parties in criminal matters….” Memo. at 8. This

claim is not supported by “the long line of precedent hold[ing] that a non-party lacks a

judicially cognizable interest in a defendant’s prosecution.” United States v. Stoerr, 695


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F.3d 271, 278 (3d Cir. 2012). Juror No. 50 is not a party here and there is no legal basis

for Juror No. 50 to intervene in this matter. This is not a request by a journalist to

intervene for public access. See United States v. Aref, 533 F.3d 72, 81 (2d Cir. 2008)

(motion to intervene to assert the public’s First Amendment right of access to criminal

proceedings is proper). Nor is the request from a subpoena respondent. See United States

v. RMI Co., 599 F.2d 1183, 1186 (3d Cir. 1979) (persons affected by the disclosure of

allegedly privileged materials may intervene in pending criminal proceedings and seek

protective orders). Although Juror No. 50 has expressed a questionable interest in the

outcome of this case, that does not afford him standing to intervene. Notably, the Federal

Rules of Criminal Procedure make no reference to a motion to intervene in a criminal

case. This is a recognition of the general rule that “a private citizen lacks a judicially

cognizable interest in the prosecution or nonprosecution of another.” Linda R.S. v.

Richard D., 410 U.S. 614, 619 (1973). And as one court has noted, “[e]ven crime victims,

who enjoy various statutory rights of participation, have no right to intervene in the

district court in a criminal case.” United States v. Collins, 2013 WL 4780927, at *1 (E.D.

Wis. 2013).

         B. This Court should refuse Juror No. 50’s discovery request because
            Juror No. 50 is under investigation and the release of the information
            requested would prejudice that investigation.

       It is the conduct of Juror No. 50 that is under investigation here. Like many

suspects, Juror No. 50 would like to learn as much information about the investigation so

that he can tailor responses to any potential questions and change the focus of the

investigation. Once he was thoroughly tipped off by the government, Juror No. 50 has


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sought to distance himself from his original statements, attempted to destroy evidence,

and tried to flee from the media.

       Under analogous circumstances courts have refused discovery to individuals or

entities under investigation. See John Doe Agency v. John Doe Corp., 493 U.S. 146,

(1989) (recipient of a grand jury subpoena for certain records relating to a cost allocation

appropriately denied access to records pursuant to a FOIA request).

       Any advance disclosure to Juror No. 50 of the questionnaire will undoubtably

color Juror No. 50’s testimony and allow him to place himself in the best possible

posture. Although there may come a time when Juror No. 50 is entitled to this

discovery—if he is charged with perjury, criminal contempt, or some other crime, for

example—the time is not now.

        C. Juror No. 50’s filings should be stricken or, alternatively, remain under
           seal.

       Whether a claimant has standing is “the threshold question in every federal case,

determining the power of the court to entertain the suit.” In re Gucci, 126 F.3d 380, 387–

88 (2d Cir. 1997) (citing Warth v. Seldin, 422 U.S. 490, 498, (1975)). Striking the

pleading of a putative litigant is appropriate where the litigant lacks standing. United

States v. All Right, Title & Int. in Prop., Appurtenances, & Improvements Known as 479

Tamarind Drive, Hallendale, Fla., No. 98 CIV. 2279 DLC, 2011 WL 1045095, at *2

(S.D.N.Y. Mar. 11, 2011). A stricken pleading is a nullity with no legal effect. Davis v.

Bombardier Recreational Prod., Inc., No. 3:11CV236-TSL-MTP, 2012 WL 112202, at

*3 (S.D. Miss. Jan. 12, 2012) (stricken amended complaint deemed a nullity and of



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no legal effect). Although Rule 12(f) of the Federal Rules of Civil Procedure references

“pleadings,” “a district court has the inherent power to strike a party's submissions other

than pleadings.” Mazzeo v. Gibbons, No. 2:08-CV-01387-RLH-PA, 2010 WL 3910072,

at *3 (D. Nev. Sept. 30, 2010); see also Metzger v. Hussman, 682 F. Supp. 1109, 1110

(D. Nev. 1988) (motion to strike granted and motion in opposition not considered by the

court). This Court should strike all the filings made by Juror No. 50.

       Alternatively, Ms. Maxwell requests that the “Memorandum of Law in Support of

Motion to Intervene and for Release of Sealed Jury Questionnaire and Transcript, on

Behalf of Proposed Intervenor, Juror 50” and its companion Motion remain under seal, at

least until a resolution of Ms. Maxwell’s motion for new trial based on this Juror’s failure

to answer truthfully during jury selection. Juror No. 50’s Motion and accompanying

Memorandum are an attempt to obtain discovery by a non-party to this criminal case,

made by someone who lacks standing to participate in this prosecution. Accordingly,

these pleadings are not “judicial documents” and are afforded no presumption of public

access. United States v. Smith, 985 F. Supp. 2d 506, 519 (S.D.N.Y. 2013) (“experience

and logic show that there is no right of access to discovery materials”). See SEC v. The

Street.Com, 273 F.3d 222, 233 (2d Cir.2001) (rejecting claim that deposition testimony

became a “judicial document” “because the Court reviewed it in order to decide whether

or not to enter [a] protective order”).

       The fact that Juror No. 50 filed these pleadings does not make them “judicial

documents.” United States v. Amodeo (“Amodeo I”), 44 F.3d 141, 145 (2d Cir. 1995)

(“We think that the mere filing of a paper or document with the court is insufficient to


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render that paper a judicial document subject to the right of public access. We think that

the item filed must be relevant to the performance of the judicial function and useful in

the judicial process in order for it to be designated a judicial document.”). Moreover, if

stricken, the documents enjoy no presumption of public access. Brown v. Maxwell, 929

F.3d 41, 51–52 (2d Cir. 2019) ([under Civil Rule 12], “the district court may strike such

material from the filings on the grounds that it is “redundant, immaterial, impertinent, or

scandalous.” Because such rejected or stricken material is not “relevant to the

performance of the judicial function” it would not be considered a “judicial document”

and would enjoy no presumption of public access.”).

       The Second Circuit established a framework in Lugosch v. Pyramid Co. of

Onondaga, 435 F.3d 110 (2d Cir. 2006) for courts to utilize in determining when the

public has a right of access to particular documents. The Court of Appeals held that

“[b]efore any such common law right can attach, however, a court must first conclude

that the documents at issue are indeed ‘judicial documents.’” Lugosch, 435 F.3d at 119.

“Once the court has determined that the documents are judicial documents and that

therefore a common law presumption of access attaches, it must determine the weight of

that presumption.” Id. “Finally, after determining the weight of the presumption of

access, the court must ‘balance competing considerations against it.’” Id. at 120.

       There exists no compelling reason to release Juror No. 50’s pleadings. Any public

release of the documents will set off another round of publicity, speculation, and

commentary, all of which is prejudicial to the truth finding process and Ms. Maxwell’s

rights to fair and impartial proceedings.


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       The submissions by Juror No. 50 have questionable merit, have not been ruled

upon, and implicate an ongoing investigation by the parties and the Court into juror

misconduct. Certainly, at least at this stage of the proceedings, the submissons are not

“judicial documents” and until the issues around Juror No. 50’s motion for intervention

and discovery have been resolved they should remain sealed. If the Court believes Juror

No. 50’s requests merit judicial document status the seal should remain. The requests

would be afforded the lowest presumption of public access and compelling reasons to

maintain the sealed status exist.

       Juror No. 50 has demonstrated a lack of reliability and an appetite for publicity.

Should the documents be released the sotto voce comments regarding Juror No. 50’s

intent, state of mind, and actions will be fodder for the media and may influence the

memories of other potential witnesses. Documents regularly remain sealed where public

release would “compromis[e] the interest in the integrity and security of [an]

investigation,” In re Sealed Search Warrants Issued June 4 & 5, 2008, No. 08–M–208

(DRH), 2008 WL 5667021, at *5 (N.D.N.Y. July 14, 2008).

                                       Conclusion
       The purpose of voir dire is “to expose bias or prejudice on the part of veniremen,”

and there “there must be sufficient information elicited on voir dire to permit a defendant

to intelligently exercise not only his challenges for cause, but also his peremptory

challenges.” Barnes, 604 F.2d at 139. “Voir dire [thus] plays an essential role in

protecting the right to trial by an impartial jury.” Daugerdas, 867 F. Supp. 2d at 468.




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       For its part, this Court expressed “confidence” that its voir dire process would

“smoke out” a juror who was dishonest. Ms. Maxwell relied on the Court’s process. And

the Court and the parties relied on the presumption to which everyone is entitled: that

potential jurors would carefully and honestly engage in voir dire.

       Unfortunately, we now know that Juror No. 50 (and at least one other juror) did

not honor their obligations to give “only truthful answers.” Ex. 1, p 3. They are no longer

entitled to the presumption of honesty.

       Because Ms. Maxwell’s jury was not the fair and impartial one guaranteed her by

the United States Constitution, this Court should vacate the jury’s verdict and order a new

trial. In the alternative, this Court should hold an evidentiary hearing and examine all

twelve jurors.

       Dated: January 19, 2022




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                             Respectfully submitted,


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                                 Certificate of Service
      I hereby certify that on January 19, 2022, I electronically filed the foregoing
Ghislaine Maxwell’s Motion for a New Trial, with the Court and counsel for the
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